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    IN TH E U N ITED STA TES D ISTRICT CO U RT
                    THE SOUTHERN DISTRICT 9F FLORIDA

   BenlaminW illiams,              )
              Plaintiff            )
                                  v)
  TRUTH SOCIALMEDIA,TRUM PM EDIA & )
  TECHNOLOGYGROUPCORP              )
                                    )
  DONALD J.TRUM P                  )
  Defendant

                                         O RDER


  Afterreviewing thefactsofthiscaseand'
                                      finding asam atteroflaw the following is

  hereby order:


          Judgmentof$500,000,000.00 ishereby Granted.


          Judgm entishereby Granted in the amountof$


           Judgm entishereby denied.




     Judge orM agistrate Signature       D ate
